    Case: 1:23-cv-03590 Document #: 56 Filed: 04/18/24 Page 1 of 2 PageID #:502




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JUSTIN FAHY,                       )
JENNENE STOICESCU,                 )
KIMBERLY ADAMS,                    )
and WILLIAM NORTHCUTT,             )                  Case No.: 1:23−cv−03590
on behalf of Plaintiffs and the class
                                   )
members described herein,          )                  Judge Matthew F. Kennelly
                                   )
                  Plaintiffs,      )
                                   )
           v.                      )
                                   )
MINTO DEVELOPMENT                  )
CORPORATION;                       )
BENHTI ECONOMIC                    )
DEVELOPMENT CORPORATION;           )
DOUGLAS WILLIAM ISAACSON;          )
MINTO FINANCIAL d/b/a Minto Money; )
and JOHN DOES 1-20,                )
                                   )
                  Defendants.      )


          NOTICE OF SETTLEMENT AND REQUEST TO STAY DEADLINES

       Plaintiffs Justin Fahy, Jenne Stoicescu, Kimberly Adams and William Northcutt and

Defendants Minto Development Corporation, Benhti Economic Development Corporation,

Douglas William Isaacson and Minto Financial (“Parties”), submit this notice to inform the

Court that they have settled this matter in principle on an individual basis and expect to file a

stipulation or notice of dismissal within the next sixty days. They respectfully request that all

deadlines be stayed while the parties document and effectuate the settlement.

 /s/ Tara L. Goodwin                                /s/ Sarah Ann Zielinski
 Daniel A. Edelman (ARDC 0712094)                   Sarah Ann Zielinski
 Tara L. Goodwin (ARDC 6297473)                     Amy L. Starinieri Gilbert
 EDELMAN, COMBS, LATTURNER                          McGuireWoods LLP
         & GOODWIN, LLC                             77 West Wacker Drive, Suite 4100
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    Case: 1:23-cv-03590 Document #: 56 Filed: 04/18/24 Page 2 of 2 PageID #:503




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 Counsel for Plaintiffs



                               CERTIFICATE OF SERVICE

       Tara L. Goodwin certifies that on April 18, 2024, this document was filed via ECF,
causing a copy to be sent to all counsel of record.


                                                   /s/ Tara L. Goodwin
                                                   Tara L. Goodwin
